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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                     CASE NO: 8:07-cr-454-T-30TGW

VINCENT HENRY
_________________________________________/
                                               ORDER

        THIS CAUSE comes before the Court upon Government’s Motion for Dismissal of

Superseding Indictment (Dkt. #331). Upon review and consideration, it is

        ORDERED AND ADJUDGED that:

        1.      The Government’s Motion for Dismissal of Superseding Indictment

(Dkt. #331) is GRANTED.

        2.      Counts One and Two of the Superseding Indictment are dismissed as to

Defendant Vincent Henry only.

        3.      Defendant Vincent Henry shall be released from the custody of the United

 States Marshal as to the charges pending against him in the above styled action.

        DONE and ORDERED in Tampa, Florida on June 18, 2008.




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Counsel/Parties of Record

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